      Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 1 of 7
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                          January 30, 2023
                    IN THE UNITED STATES DISTRICT COURT FOR THE                          Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 SELENE FINANCE LP,                                 §
                                                    §
           Plaintiff,                               §
                                                    §
 v.                                                 §    Civil Action No. 4:22-CV-03781
                                                    §
 M&M MORTGAGE                                       §
 SERVICES, INC.,                                    §
                                                    §
           Defendant.                               §

                        AGREED STIPULATED CONFIDENTIALITY ORDER

           WHEREAS, it is anticipated that the parties to this lawsuit will be producing documents

 and supplying information, which a party may regard as proprietary or otherwise confidential,

 during the pendency of this action;

           WHEREAS, it is also anticipated that court filings in this matter may include references

to documents or information that a party may regard as proprietary or otherwise confidential;

           WHEREAS, it is further anticipated that deposition testimony in this matter may include

 references to documents or information that a party may regard as proprietary or otherwise

 confidential;

            WHEREAS, the parties to this action desire to protect the confidentiality of any such

 proprietary or otherwise confidential documents or testimony furnished in the course of this

 action;

           IT IS HEREBY stipulated and made an Order of the Court that-until this Stipulated

 Confidentiality Order is amended or superseded-all parties and their agents, including their

 employees and counsel, who are provided with Confidential Information (as defined below) shall




Agreed Stipulated Confidentiality Order - Page 1
     Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 2 of 7




follow the procedures set forth below with respect to certain documents, information, or testimony

provided or exchanged in this action.

          A.     Scope

          This Order shall govern all documents and information produced by any party to this

 action, whether produced informally or pursuant to a formal discovery request, and shall also

 include all documents or information revealed during a deposition, in any interrogatory answer,

 or otherwise disclosed via discov~ry.

          Nothing in this Order precludes any party from seeking relief from the Court regarding

the production of documents or information.

          This Order does not alter any confidentiality obligations that a party may have at law or

 under another agreement.

          Nothing in this Order shall be construed as an agreement or acknowledgment by the non-

 producing party that any document, testimony, or other information designated as "Confidential"

 or "Confidential-Attorneys' Eyes Only" (as those phrases are defined below) constitutes a trade

 secret or is in fact confidential.

          B.     Confidential Information

          1.     Materials that contain sensitive information may be designated as "Confidential"

 or as "Confidential-Attorneys' Eyes Only." The producing party will make such a designation

 only for those documents or discovery responses that are in good faith believed to contain or

 constitute valuable confidential, proprietary, trade secret, or otherwise sensitive information.

 Materials so designated are referred to herein as "Confidential Information."

          2.     Documents shall be designated as Confidential Information by marking or stamping

 each page of any such document as "Confidential" or "Confidential-·Attorneys' Eyes Only," or




Agreed Stipulated Confidentiality Order - Page 2
     Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 3 of 7




otherwise identifying such documents by Bates production numbers or other unequivocal

identifier in writing to each party receiving the Confidential Information. In lieu of marking the

originals of documents, any party may mark the copies of such documents that are produced or

exchanged.

          3.     With respect to deposition testimony that constitutes or references Confidential

Information, confidential portions of the transcript may be designated as such on the record at the

time the testimony is given, and additional portions of the testimony may be designated as

"Confidential" or "Confidential-Attorneys' Eyes Only" within ten (10) days of receipt of the

transcript.    Until the ten-day period has expired, the entire transcript shall be treated as

 Confidential Information if any portions had been so designated on the record. Additionally, in

 any deposition in which documents designated as containing Confidential Information are marked

 as exhibits, shown to the deponent, or otherwise employed, those documents shall be considered

 confidential and subject to the provisions of this Order.

          C.     Treatment of Confidential Information

        1.       Except as otherwise provided in this Order or subsequent court rulings, documents

designated as "Confidential" shall not be disclosed or shown to anyone other than:

        (a)      The parties, their employees, and their agents to whom it is necessary that

                 Confidential Information be shown for purposes of this proceeding;

        (b)      Outside counsel for the parties, their employees, and their agents to whom it is

                 necessary that Confidential Information be shown for purposes of this proceeding;

        (c)      In-house counsel for the parties, their employees, and their agents to whom it is

                 necessary that Confidential Information be shown for purposes of this proceeding;




Agreed Stipulated Confidentiality Order - Page 3
     Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 4 of 7




        (d)      Persons employed by any party or by counsel solely for the purpose of assisting in

                 the preparation of this action for trial, including but not limited to experts, their

                 staff, and support personnel to whom it is necessary that Confidential Information

                 be shown for purposes of assisting in such preparation;

        (e)      The Court or persons employed by the Court, including the jury;

        (f)      Duly qualified court reporters and videographers participating in these proceedings;

        (g)      Persons who were the authors or recipients of the documents in the ordinary course

                 of business;

        (h)      Witnesses in preparation for or in the course of depositions or the trial of this matter;

                 and

        (i)      Persons who, in addition to those identified above, are permitted access by either

                 order of the Court or stipulation.

        2.       In the event that documents or testimony are designated as "Confidential-

Attorneys' Eyes Only," such information shall not be disclosed or shown to anyone other than the

persons described in paragraph C.l (b ), C.l (d), C.l (e), C. l (f), C.l (g), and C.1 (i).

        3.       Confidential· Information shall be used by the receiving party solely for the

prosecution or defense of this litigation and only as provided in this Stipulated Confidentiality

Order. Confidential Information shall not be used or employed for any other action, proceeding,

or purpose whatsoever.

        4.       Before disclosing Confidential Information to any third party pursuant to this

Order, the disclosing party must provide prior written notice to the producing party or any other

party designating the information as Confidential Information. Such disclosure shall not be made

until (1) such party consents to the disclosure; or (2) the court resolves any objections to the




Agreed Stipulated Confidentiality Order - Page 4
     Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 5 of 7




disclosure, whichever is earlier. Any objections to such disclosure shall be made in writing to the

court within ten (10) business days of receipt of the notice.

        5.      Notwithstanding anything to the contrary in the foregoing paragraphs, any party

may use without restriction:

        (a)        its own documents or information; and

        (b)        documents or information developed or obtained by a rece1vmg party

                   independently of discovery in this action.

        6.       Each person given access to designated Confidential Information shall be advised

that the information is being disclosed pursuant and subject to the terms of this Stipulated

Confidentiality Order. To the extent such person is neither a party nor employed by a party, such

person shall sign an agreement to be bound to this Order before any Confidential Information is

disclosed.

        7.       No Confidential Information shall be filed with the Court or used in a hearing unless

the party seeking to file or use the Confidential Information has provided, at least five (5) business

days before the filing or hearing, written notice to all parties and any person designating the

information as Confidential Information. This pre-filing notice shall identify the specific

information that the party intends to file or use. Any objections to such filing or use shall be made

in writing to the Court within the five-day period with a request for an expedited hearing. If

objections are lodged, the Confidential Information must not be filed or used until further

instruction from the Court, unless the information is filed pursuant to the Court's procedures for

filing documents under seal.

        8.       The inadvertent or unintentional disclosure of Confidential Information, regardless

of whether the information was so designated at the time of the disclosure, shall not be deemed a




Agreed Stipulated Confidentiality Order - Page 5
     Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 6 of 7




waiver of a party's claim of confidentiality, either as to the specific information disclosed or as to

any other information relating thereto on the same or related subject matter if, within ten (10) days

of discovering the inadvertent failure to designate the material as confidential, the person or entity

that provided the Confidential Information identifies the material produced and amends the

designation.

        9.       Within thirty (30) days of the settlement or final adjudication, including appeals, of

the action in which the documents have been produced, all Confidential Information supplied by

the parties and non-parties and all copies thereof shall, upon request, be certified to have been

destroyed or deleted. However, it is understood that each party may retain a complete file of all

litigation documents filed with the Court in these actions and that work product in the possession

or control of counsel for any party that reflects or includes information derived from documents

or testimony designated as confidential will not be destroyed or deleted.

        10.      Any dispute concerning the application of this Stipulated Confidentiality Order

shall be heard by the Court upon motion by the objecting party. Any violation of this Stipulated

Confidentiality Order may result in sanctions and costs.




Agreed Stipulated Confidentiality Order - Page 6
      Case 4:22-cv-03781 Document 18 Filed on 01/27/23 in TXSD Page 7 of 7




         Stipulated to and Agreed to this 25 th day of January, 2023, by:


   Isl Aaron A. Wagner                                Isl Mary Ciera Wilson (wlelp by AA W)
  Aaron A. Wagner                                    Justin P. England
  Texas Bar No. 24037655                             Texas Bar No. 24063955
  S.D. Bar No. 3813191                               jengland@wshblaw.com
  awagner@hanszenlaporte.com                         Sheila E. Fix
  Zachary Smith                                      Texas Bar No. 18964500
  Texas Bar No. 24103939                             sfix@wshblaw.com
  S.D. Bar No. 3502773                               Mary Ciera Wilson
  zsmith@hanszenlaporte.com                          Texas Bar No. 24120329
  HANSZEN LAPORTE LLP                                mwilson@wshblaw.com
  14201 Memorial Drive                               WOOD, SMITH, HENNING,
  Houston, Texas 77079                               & BERMAN, LLP
  Telephone: (713) 522-9444                          14860 Landmark Blvd., Suite 120
  Facsimile: (713) 524-2580                          Dallas, Texas 75254
                                                     Telephone: (469) 210-2050
  Counsel for Plaintiff, Selene Finance LP           Fax: (469) 210-2051
                                                     Counsel for Defendant, M&M Mortgage
                                                     Services, Inc.




         Entered this ?,,.~ay of January, 2023.




                                                     ~The Honorable David Hittner
                                                      United States District Judge




· Agreed Stipulated Confidentiality Order - Page 7
